                  Case 4:06-cr-00104-JMM                  Document 376           Filed 03/02/11            Page 1 of 5



                                      UNITED STATES DISTRICT COURT
                                                      Eastern District of Arkansas                         JAMES

           UNITED STATES OF AMERICA                                   Judgment in a Criminal Case
                                                                                                 By:                  ~
                                                                                                                      7v
                                                                                                                          (I   (~5 !~ V \ /of.~ CLERK
                                                                                                                                  (




                              v.                                      (For Revocation of Probation or Supervised Release)
             LACRESHA NICOLE PUGH

                                                                      Case No. 4:06cr00104-07 JMM
                                                                      USM No. 24082-009
                                                                       Lisa Peters
                                                                                               Defendant's Attorney
 THE DEFENDANT:
 ~ admitted guilt to violation of condition(s)       Special                          of the term of supervision.
 o was found in violation of condition(s)                                         after denial of guilt.
 The defendant is adjudicated guilty of these violations:


. Violation Number            Nature of Violation                                                           Violation Ended
 Special                           Failure to complete residential re-entry center                            12/11/2010




        The defendant is sentenced as provided in pages 2 through         _4_ _ of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 o The defendant has not violated condition(s) _ _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.
           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
 fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes In
 economic circumstances.

 Last Four Digits of Defendant's Soc. Sec. No.: 4725                  03/01/2011
                                                                                          Date of Imposition of Judgment
 Defendant's Year of Birth:           1975
                                                                     ~~~9s-
 City and State of Defendant's Residence:
 Texarkana, Arkansas
                                                                       James M. Moody                               US District Judge
                                                                                             Name and Title of Judge

                                                                      03/02/2011
                                                                                                       Date
                    Case 4:06-cr-00104-JMM                       Document 376       Filed 03/02/11       Page 2 of 5
  AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment
                                                                                                 Judgment -   Page   2   of       4
  DEFENDANT: LACRESHA NICOLE PUGH
  CASE NUMBER: 4:06cr00104-07 JMM


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
FIVE (5) MONTHS




      rI The court makes the following recommendations to the Bureau of Prisons:
The defendant shall serve her term of imprisonment at a medical facility to address her medical needs.




      o The defendant is remanded to the custody of the United States Marshal.
      o The defendant shall surrender to the United States Marshal for this district:
        o at _ _ _ _ _ _ _ _ _ 0 a.m. 0 p.m. on
        o as notified by the United States Marshal.
      rI The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            ~ before 2 p.m. on _05_'_0_2_'2_0_1_1                          _
            o    as notified by the United States Marshal.
            o    as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




          Defendant delivered on                                                      to

 at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL


                                                                               By
                                                                                           DEPUTY UNITED STATES MARSHAL
  AO 245D
                 Case 4:06-cr-00104-JMM                       Document 376
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
                                                                                             Filed 03/02/11         Page 3 of 5
             Sheet 5 - Criminal Monetary Penalties

                                                                                                          Judgment - Page        3   of       4
  DEFENDANT: LACRESHA NICOLE PUGH
  CASE NUMBER: 4:06cr00104-07 JMM
                                CRIMINAL MONETARY PENALTIES

      The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                       Assessment                                               Fine                               Restitution
 TOTALS          $                                                          $                                    $ 7,501.16


  DO The determination of restitution is deferred until                          . An Amended Judgment in a Criminal Case (AD 245C) will be
      entered after such determination.

  D   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
      in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must
      be paio before the United States is paid.

  Name of Payee                                 Total Loss*                                Restitution Ordered               Priority or Percentage
As indicated in the Amended                                                                           $7,501.16
Judgment (DE #290) attached




  TOTALS                                    $                           0.00           $               7,501.16


  D    Restitution amount ordered pursuant to plea agreement $

  D    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).


  D    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the              D fine            D restitution.
       D the interest requirement for the           D     fine          D restitution is modified as follows:


 * Findings for the total amount of losses are required under Chapters 109A, 110, I1OA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
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                      IN THE UNITED STATES DISTRICT COURT                e.,~;~:~Ocirs~'fc\c,..~~~Sl>-S
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION                                ~U\.. \ \\ 1\\\\'6
                                                                                \N. ~ccOft~"'C'f..1 c\.E.ft'f..
                                                                                 --"'u·~
UNITED STATES OF AMERICA

Vs.                         CASE NO. 4:06cr00104-07 JMM

LACRESHA NICOLE PUGH


                                         ORDER

       The United States' second motion to amend/correct restitution (docket entry #282)

is granted.

       The June 15, 2007 Judgment (docket entry #194) , October 5, 2007 Amended

Judgment (docket entry #232) and the March 12,2008 Amended Judgment (docket entry

#265) are amended to state that the total amount of restitution, $12,390.27 ($8,914.00 to

Bank of America and $3,476.27 to Metropolitan Bank) is joint and several between

Lacresha Nicole Pugh, Courtney Johnson (4:06cr00104-01JMM), Doris J. Martin

(4:06cr00104-09 JMM), Lanora Marshelle Glass (4:06cr00104-06 JMM), Khaleelah

Rahshane Powell (4:06cr00104-08 JMM) and Valencia White (4:07cr00200 WRW).

       The remaining portions of the judgments will remain in full force and effect.

       The Clerk is directed to provide a copy of this order to the United States Probation

Office and the Finance Section of the Clerk's office.

       IT IS SO ORDERED THIS 10th day of July, 2008.



                                           ~VV1
                                              ITED STATES DISTRICT JUDGE
                Case 4:06-cr-00104-JMM                       Document 376              Filed 03/02/11       Page 5 of 5
AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet 6 - Schedule of Payments

                                                                                                       Judgment -   Page   4     of        4
DEFENDANT: LACRESHA NICOLE PUGH
CASE NUMBER: 4:06cr00104-07 JMM

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A     rtI Lump sum payment of $ _0_...;.0. .;.0                 _      due immediately, balance due

           D not later than                                               , or
           r;/ in accordance with D C, D                   D,       D E,or       ~ F below); or
B     D    Payment to begin immediately (may be combined with                    DC,       D D, or    D F below); or
c     D    Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D     D    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
F     r;/ Special instructions regarding the payment of criminal monetary penalties:
        Restitution is payable during incarceration at the rate of 50% per month of all funds earned.




Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary penalties IS due during the period of imprisonment. All criminal monetary penaltIes, except those payments made
through the Federal Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant ~nd Co-De~endant N~es and Case Numbers (including defendant number), Joint and Several Amount and
     correspondmg payee, If appropnate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court, cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Pay~en~s shall be applied in .the fol~owjng order: (1) ilssessment, (2) re~titutiC!n principal, (3) rest~tution interest, (4) fine principal,
(5) fme mterest, (6) commumty restItutIOn, (7) penaltles,and (8) costs, mcludmg cost of prosecutIOn and court costs.
